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U.S. DISTRICT COURT
DISTRICT OF MARYLARD

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IN THE UNITED STATES DISTRICE COURT FICE
FOR THE DISTRICT OF MARYBARDLTIMNORE

 

UNITED STATES OF AMERICA s BY DEPUTY

*
v. *  crmnaLna. Gy Zoer 182

*

HOWARD GARRICK CORNELIUS * (Possession with Intent to Distribute

THOMAS, * a Controlled Substance, 21 U.S.C.
* § 841(a)(1); Felon in Possession of a

Defendant * Firearm, 18 U.S.C. § 922(g)(1);

* Forfeiture, 18 U.S.C. § 924(d), 21
*

U.S.C. § 853, 28 U.S.C. § 2461(c))

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INDICTMENT

COUNT ONE
(Possession with Intent to Distribute Controlled Substances)

The Grand Jury for the District of Maryland charges that: os
On or about January 29, 2020, in the District of Maryland, the defendant,
HOWARD GARRICK CORNELIUS THOMAS,
knowingly possessed with the intent to distribute a mixture and substance containing a detectable
amount of cocaine, a Schedule IJ controlled substance, and a mixture and substance containing a

detectable amount of cocaine base, a Schedule II controlled substance. :

21 U.S.C. § 841(a)(1)
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COUNT TWO
(Felon in Possession of a Firearm)

The Grand Jury for the District of Maryland further charges that:
On or about January 29, 2020, in the District of Maryland, the defendant,
HOWARD GARRICK CORNELIUS THOMAS,
knowing he had previously been convicted of a crime punishable by imprisonment for a term
exceeding one year, knowingly possessed firearms—that is, (1) a Glock 27 semi-automatic
handgun bearing serial number UTK145; (2) a Kel Tec P110 semi-automatic handgun bearing
serial number AA2K43, and (3) a Guiseppe Tanfolglio Armi GT27 semi-automatic handgun

bearing serial number M21896—and the firearms were in and affecting commerce.

18 U.S.C. § 922(g)(1)
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COUNT THREE
(Possession with Intent to Distribute a Controlled Substance)

The Grand Jury for the District of Maryland further charges that:
On or about June 26, 2020, in the District of Maryland, the defendant,
HOWARD GARRICK CORNELIUS THOMAS,
knowingly possessed with the intent to distribute a mixture and substance containing a detectable

amount of cocaine base, a Schedule II controlled substance.

21 U.S.C. § 841(a)(1)
a

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FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

ls Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant
that the United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C.
§ 924(d), 21 U.S.C. § 853, and 28 USC. § 2461 (c), in the event of the defendant’s convictions
under Counts One through Three of this Indictment.

Narcotics Forfeiture

2. Upon conviction of the offenses set forth in Counts One and Three of this

Indictment, the defendant,
HOWARD GARRICK CORNELIUS THOMAS,
shall forfeit to the United States, pursuant to 2] U.S.C. § 853(a): (1) any property constituting,
or derived from, any proceeds obtained, directly or indirectly, as the result of such offense; and
(2) any property used or intended to be used, in any manner or part, to commit, or to facilitate the
commission of, such offense.
Firearms and Ammunition Forfeiture
3. As aresult of the offense set forth in Count Two of this Indictment, the defendant,
HOWARD GARRICK CORNELIUS THOMAS,
shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), any
firearms and ammunition involved in the offense.
Property Subject to Forfeiture

4, The property to be forfeited included, but is not limited to, the following:
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a. approximately $825.00 in U.S. currency seized during execution of a search
warrant at the defendant’s residence on January 29, 2020;

b. two flash bang grenades seized during execution of a search warrant at the
defendant’s residence on January 29, 2020;

c. aloaded Glock 27 semi-automatic handgun bearing serial number UTK145 with
one round of ammunition in the chamber seized during execution of a search
warrant at the defendant’s residence on January 29, 2020;

d. a loaded Kel Tec P110 semi-automatic handgun bearing serial number AA2K43
with one round of ammunition in the chamber seized during execution of a search
warrant at the defendant’s residence on January 29, 2020;

e. aloaded Guiseppe Tanfolglio Armi GT27 semi-automatic handgun bearing serial
number M21896 with one round of ammunition in the chamber seized during
execution of a search warrant at the defendant’s residence on January 29, 2020;

f. approximately 225 rounds of ammunition seized during execution of a search
warrant at the defendant’s residence on January 29, 2020;

g. approximately $82.00 in U.S. currency seized from the defendant during his arrest
on June 26, 2020; and

h. approximately $6,500.00 in U.S. currency seized during execution of a search
warrant at the defendant’s residence on June 26, 2020.

Substitute Assets
5. If, as a result of any act or omission of any defendant, any of the property
described above,
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or,
e. has been commingled with other property which cannot be subdivided without

difficulty,
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the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c), shall
be entitled to forfeiture of substitute property up to the value of the forfeitable property described
above.

18 U.S.C. § 924(d)

21 U.S.C. § 853
28 U.S.C. § 2461(c)

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Robert K. Hur
United States Attorney

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Foreperson =
